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    11                            UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WASHINGTON
    12
                                           AT SPOKANE
    13 STATE OF WASHINGTON, et al.,

    14
                                   Plaintiffs,             No. 4:19-cv-5210-RMP
    15
                            v.                            REPORT PURSUANT TO MAY 13,
    16                                                    2020 ORDER
       UNITED STATES DEPARTMENT OF
    17 HOMELAND SECURITY, et al.,

    18                             Defendants
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         REPORT PURSUANT TO                                                 U.S. DEPARTMENT OF JUSTICE
         MAY 3, 2020 ORDER                                              1100 L St. NW, Washington, DC, 20003
         NO. 4:19-CV-05210-RMP                                                                (202) 353-0533
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 1          Defendants respectfully submit this report pursuant to the Court’s May 13, 2020

 2 Order Denying in Part and Granting in Part Defendants’ Motion to Stay Discovery Order

 3 re: Privilege Log (“Order”). ECF No. 219. The Court ordered Defendants to produce a

 4 privilege log pertaining to Defendants’ administrative record on a rolling basis starting

 5 on June 12, 2020. Id. at 6. The Court further ordered Defendants to make reports to the

 6 Court and Plaintiffs every other Friday, on their progress toward completion of the

 7 privilege log. Id.

 8          Notifying Custodians of Obligation to Preserve Documents

 9          First, the Court ordered Defendants to report on their progress in “notifying

10 potential custodians of their obligation to preserve potentially relevant documents, even

11 if assertedly privileged[.]” Order at 6. As discussed in Defendants’ June 12, 2020 report,

12 Defendants have notified all potential custodians of their obligation to preserve

13 potentially relevant documents, even if assertedly privileged.

14          Segregating Privileged Documents for Review

15          Second, the Court ordered Defendants to report on their progress in “segregating

16 all assertedly privileged documents for review.” Order at 6.

17          As reported previously, Defendants believe they have collected all necessary

18 emails and other electronic documents for the privilege review. Although electronic

19 records are expected to constitute the vast majority of documents subject to the Court’s

20 Order, it is possible that there could be paper documents that do not also exist in electronic

21 form. At this time, due to the COVID-19 crisis and the telework status of most agency

22 personnel, Defendants cannot determine whether there are any paper documents that will
     REPORT PURSUANT TO                               1                        U.S. DEP’T OF JUSTICE
     MAY 13, 2020 ORDER                                           1100 L St. NW, Washington, DC, 20003
     NO. 4:19-CV-05210-RMP                                                              (202) 305-7664
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 1 need to be collected, as those documents are physically located in agency offices and are

 2 therefore currently inaccessible.

 3          Logging Privileged Documents

 4          Third, the Court ordered Defendants to report on their progress in logging

 5 privileged documents pursuant to Fed. R. Civ. P. 26(b)(5)(A). Order at 6. As of

 6 November 25, 2020, 49,439 documents have been batched for review in the DOJ

 7 document review platform. 49,363 (i.e., 99.8%) of those documents have undergone an

 8 initial review. 4,947 of the documents require final review by agency counsel and, as

 9 necessary, by counsel at the Department of Justice. The documents awaiting final level

10 review include many documents that contain third party equities and which Defendants

11 expect to include in future installments of the privilege log after consulting with the

12 appropriate third parties. Similarly, some of the documents that underwent final review

13 since the last status report contain third party equities and require consultation with third

14 parties. 469 documents are currently listed on the privilege log.

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     Dated: November 27, 2020               Respectfully submitted,
16

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22                                             /s/ Joshua M. Kolsky
     REPORT PURSUANT TO                              2                        U.S. DEP’T OF JUSTICE
     MAY 13, 2020 ORDER                                          1100 L St. NW, Washington, DC, 20003
     NO. 4:19-CV-05210-RMP                                                             (202) 305-7664
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     REPORT PURSUANT TO                          3                        U.S. DEP’T OF JUSTICE
     MAY 13, 2020 ORDER                                      1100 L St. NW, Washington, DC, 20003
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     Case 4:19-cv-05210-RMP     ECF No. 268    filed 11/27/20   PageID.6259 Page 5 of 5




 1                              CERTIFICATE OF SERVICE
 2
           I hereby certify that on November 27, 2020, I electronically filed the foregoing
 3 with the Clerk of the Court using the CM/ECF system, which will send notification of

 4 such filing to all users receiving ECF notices for this case.

 5
                                           /s/ Joshua Kolsky
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